       Case 3:21-cv-00172-BSM-JJV Document 8 Filed 10/14/21 Page 1 of 1




                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF ARKANSAS
                           NORTHERN DIVISION

CHRISTOPHER JONES                                                          PLAINTIFF
ADC #611484

v.                         CASE NO. 3:21-CV-00172-BSM

KENDALL DRINKARD, et al.                                                DEFENDANTS

                                         ORDER

      Having reviewed the entire record de novo, United States Magistrate Judge Joe J.

Volpe’s proposed findings and recommendations [Doc. No. 6] are adopted. Christopher

Jones’s official capacity damages claims and his false disciplinary claim against Kendall

Drinkard are dismissed without prejudice. An in forma pauperis appeal would not be taken

in good faith. 28 U.S.C. § 1915(a)(3).

      IT IS SO ORDERED this 14th day of October, 2021.


                                                 ________________________________
                                                 UNITED STATES DISTRICT JUDGE
